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16

17                      IN THE UNITED STATES DISTRICT COURT
18
          FOR THE CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
19
     CARL ZEISS AG and ASML                      Case No. 2:17-cv-7083
20   NETHERLANDS B.V.,
21                                               COMPLAINT FOR PATENT
                Plaintiffs,                      INFRINGEMENT
22   v.
23                                               DEMAND FOR JURY TRIAL
   NIKON CORPORATION, SENDAI
24 NIKON CORPORATION, and NIKON
25 INC.,
           Defendants.
26

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                                         COMPLAINT FOR PATENT INFRINGEMENT
                                                           Case No. 2:17-cv-7083
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 1                   COMPLAINT FOR PATENT INFRINGEMENT
 2         Plaintiffs Carl Zeiss AG (“Zeiss”) and ASML Netherlands B.V. (“ASML”)
 3   (collectively “Plaintiffs”), by and through their attorneys, bring their Complaint
 4   against Nikon Corporation, Sendai Nikon Corporation, and Nikon Inc. (collectively,
 5   “Defendants” unless otherwise indicated) and hereby allege as follows:
 6                                  NATURE OF ACTION
 7         1.     This is an action for patent infringement arising under the patent laws
 8   of the United States, 35 U.S.C. § 1 et seq., specifically including 35 U.S.C. § 271.
 9                                      THE PARTIES
10         2.     Plaintiff Zeiss is a German corporation with its principal place of
11   business located at Carl-Zeiss-Straße 22, Oberkochen, Germany 73447.
12         3.     Plaintiff ASML is a Dutch entity with a principal place of business at De
13   Run 6501, 5504 DR, Veldhoven, Netherlands.
14         4.     On information and belief, Defendant Nikon Corporation is a corporation
15   organized under the laws of Japan and having a principal place of business at
16   Shinagawa Intercity Tower C, 2-15-3, Konan, Minato-ku, Tokyo 108-6290, Japan.
17   On information and belief, Nikon Corporation uses the term “Nikon Group” to refer
18   to all the affiliated Nikon companies (which are also referred to as the “Nikon Group
19   Companies”).
20         5.     On information and belief, Defendant Sendai Nikon Corporation
21   (“Sendai Nikon”) is a corporation organized under the laws of Japan and having a
22   principal place of business at 277, Aza-hara, Tako, Natori, Miyagi 981-1221, Japan,
23   is a subsidiary of Nikon Corporation, and is a Nikon Group Company.
24         6.     On information and belief, Defendant Nikon Inc. is a corporation
25   organized under the laws of New York, having a principal place of business at 1300
26   Walt Whitman Road, Melville, NY 11747-3064. Nikon Inc. is a subsidiary of Nikon
27   Corporation and is a Nikon Group Company.
28
                                             1
                                          COMPLAINT FOR PATENT INFRINGEMENT
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 1         7.     On information and belief, Nikon Corporation and Nikon Inc. conduct
 2   business operations throughout the United States, including in the State of California.
 3                                       JURISDICTION
 4         8.     This Court has jurisdiction over the subject matter of this action under
 5   28 U.S.C. §§ 1331 and 1338(a).
 6                       PERSONAL JURISDICTION AND VENUE
 7         9.     This Court has personal jurisdiction over each Defendant because, inter
 8   alia, each Defendant has conducted and continues to conduct business in this judicial
 9   district, either directly, or through its subsidiaries, agents, and/or affiliates including,
10   upon information and belief, by marketing, selling, offering for sale, importing, and
11   servicing digital camera products in the Central District of California.
12         10.    On information and belief, Nikon Corporation designs, develops, has
13   made by others, and makes digital cameras and related software, including products
14   accused of infringement in this action, outside the United States that it offers to sell
15   and sells either directly to customers in the United States, including the State of
16   California, or provides directly and/or indirectly to Nikon Inc. for importation into the
17   United States.
18         11.    On information and belief, Nikon Corporation designs and develops
19   sensors for its digital cameras and has designed and developed sensors for at least
20   some of the cameras accused in this case. [See Exhibit A-1 (“Nikon has always
21   designed its own image sensors in-house to ensure maximum image quality, detail
22   retention and low-light capabilities. From the large full-frame FX-format sensors used
23   in Nikon’s professional DSLRs to the DX-format sensors used in Nikon’s enthusiast
24   DSLRs to the nimble CX-format sensors used in Nikon 1 cameras to the backside-
25   illumination sensors used in select Coolpix cameras, every Nikon image sensor is
26   carefully matched to the camera’s EXPEED image processing design and NIKKOR
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                                            COMPLAINT FOR PATENT INFRINGEMENT
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 1   optics for outstanding performance.”);1 Exhibit A-2 (“The image sensors used with
 2   Nikon cameras, including FX (36.0 x 23.9 mm), DX (23.6 x 15.6 mm), CX (13.2 x
 3   8.2 mm) and other smaller sensors, are originally designed in-house to assure
 4   optimally excellent image quality.”)2.]
 5          12.    For example, on information and belief, Nikon Corporation has designed
 6   and developed sensors for at least the D4, D4S, Df, D5, and D850 cameras. [See, e.g.,
 7   Exhibit A-3 (“Such exceptional image integrity across such a wide ISO sensitivity
 8   range is made possible through Nikon’s proprietary and exclusive sensor
 9   technologies.”)(referencing the D4 camera);3 Exhibit A-4 (D4S specification
10   identifying “36.0 x 23.9 mm CMOS sensor (Nikon FX format)”)4; Exhibit A-5 (“the
11   Df incorporates Nikon's unique technologies in its FX-format CMOS sensor and
12   EXPEED 3 image-processing engine.”);5 Exhibit A-6 (“With its Nikon developed
13   20.8MP FX-format CMOS sensor, the D5 is the highest resolution full-frame Nikon
14   flagship ever and ready for your next challenge.”);6 Exhibit A-7 (“At the heart of the
15   D850 is a Nikon designed sensor like none before it—a back-side illuminated (BSI)
16   FX-format full-frame CMOS image sensor with 45.7 megapixels and no optical low-
17   pass filter.”)7.]
18          13.    On information and belief, Sendai Nikon manufactures and sells digital
19   cameras and related software, including products accused of infringement in this
20   action, based on Nikon Corporation’s designs and under Nikon Corporation’s control
21   that are later offered for sale or sold directly to customers in the United States,
22
     1
23     http://www.nikonusa.com/en/learn-and-explore/nikon-technology/index.page
     2
       Also available at: http://imaging.nikon.com/technology/
24   3
       Also available at: http://imaging.nikon.com/lineup/dslr/d4/features01.htm
     4
25     Also available at: http://imaging.nikon.com/lineup/dslr/d4s/spec.htm
     5
       Also available at: http://imaging.nikon.com/lineup/dslr/df/
26   6
       Also available at: http://www.nikonusa.com/en/nikon-products/product/dslr-
27   cameras/d5.html
     7
       Also available at: http://www.nikonusa.com/en/nikon-products/product/dslr-
28
     cameras/d850.html
                                                 3
                                           COMPLAINT FOR PATENT INFRINGEMENT
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 1   including the State of California, or provided directly and/or indirectly to Nikon Inc.
 2   for importation into the United States. The President of Sendai Nikon has declared
 3   under oath in Carl Zeiss AG et al. v. Nikon Corporation et al., Case No. 2:17-cv-
 4   03221-RGK-MRW that “Sendai Nikon manufactured and continues to manufacture
 5   certain Nikon digital cameras, such as the Coolpix A, D4, D4S, D5 and Df digital
 6   cameras accused of infringement in the Complaint. Sendai Nikon manufactures these
 7   cameras in Japan for Nikon Corporation and sells them to Nikon Corporation.” [Case
 8   No. 2:17-cv-03221-RGK-MRW, Doc. Nos. 25-2 ¶ 9 and 34-2 ¶ 9.]
 9          14.    On information and belief, Nikon Inc. imports digital cameras designed
10   by Nikon Corporation and manufactured by Sendai Nikon, including products accused
11   of infringement in this action, into the United States and markets, offers to sell, sells,
12   and services such cameras to customers in the United States, including the State of
13   California. On information and belief, Nikon Inc. has a regular and established place
14   of business for the service and repair of Nikon cameras, including those accused of
15   infringement in this action, located in this judicial district at 6420 Wilshire Boulevard
16   #100, Los Angeles, California 90048.
17          15.    On information and belief, Sendai Nikon and Nikon Inc. are alter egos of
18   Nikon Corporation, and Sendai Nikon is subject to personal jurisdiction in this judicial
19   district based at least on its alter-ego status.
20          16.    Nikon Corporation files a single consolidated financial statement that
21   includes at least some of the Nikon Group Companies, including Sendai Nikon and
22   Nikon Inc. [See Exhibit B.]8 “In June 2014, the Group underwent a major shift from
23   being an in-house company system to a divisional organization, and it was able to
24

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27   8
       Also available at:
28
     http://www.nikon.com/about/ir/stock_info/meeting/pdf/153/attached.pdf.

                                                4
                                             COMPLAINT FOR PATENT INFRINGEMENT
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 1   bring about a strengthening of human resources in growth fields by centralizing
 2   authority over personnel issues at corporate headquarters.” [See Exhibit C at p. 4.]9
 3           17.   Each Nikon Group Company is part of the same structure in “Nikon’s
 4   Corporate Governance Organization (As of June 29, 2017),” which is publicly
 5   presented as part of the Defendants’ website, www.nikon.com, located at this specific
 6   page:     http://www.nikon.com/about/ir/governance/organization/index.htm.       [See
 7   Exhibit D-1.] The diagram below was reproduced from that specific web page:
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21           18.   According to the diagram above, and thus based on information and
22   belief, Nikon Corporation and the Nikon Group Companies share the same Board of
23   Directors. “The Board of Directors supervises management by directors and assumes
24   the decision-making functions on the matters prescribed under laws and regulations,
25   and the Articles of Incorporation of the Company, as well as the important matters
26

27
     9
      Also available at:
28
     http://www.nikon.com/about/ir/ir_library/ar/pdf/nr2015/15nikonreport_e.pdf.
                                              5
                                        COMPLAINT FOR PATENT INFRINGEMENT
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 1   concerning the Nikon Group. … For example, the Board of Directors makes decisions
 2   on matters concerning important management, including the basic management
 3   policies, the Medium Term Management Plan, the annual plan, the Basic Policy on
 4   Internal Control System, and investments and loans exceeding a certain amount.” [See
 5   Exhibit D-1].10
 6         19.    According to the diagram above, and thus based on information and
 7   belief, Nikon Corporation and the Nikon Group Companies have a single “President
 8   and Representative Director,” “executive committee,” “Risk Management
 9   Committee,” “Export Control Committee,” and “Corporate Social Responsibility” (or
10   “CSR”) organization that control each of the Nikon Group Companies, which the
11   diagram reproduced above also refers to as “departments.” [See Exhibit D-1.]11 “The
12   Nikon Group carries out its business through a divisional organization under the direct
13   control of the president.” [See Exhibit C.]12
14         20.    According to the diagram above, and thus based on information and
15   belief, Nikon Corporation and the Nikon Group Companies have a single “Internal
16   Audit Department” that audits each of the Nikon Group Companies, which the
17   diagram reproduced above also refers to as “departments.” [See Exhibit D-1.]13
18   “[T]he Internal Audit Department audits whether or not each division conducts their
19   operations in accordance with laws and regulations and internal rules, manages risks
20   adequately, and so on to evaluate the appropriateness of the internal control systems
21   and implemented operations at Nikon group companies (including non-consolidated
22
     10
23      Also available at:
24
         http://www.nikon.com/about/ir/governance/organization/index.htm.
     11
        Also available at:
25       http://www.nikon.com/about/ir/governance/organization/index.htm.
     12
26
        Also available at:
         http://www.nikon.com/about/ir/ir_library/ar/pdf/nr2015/15nikonreport_e.pdf.
27   13
        Also available at:
28
         http://www.nikon.com/about/ir/governance/organization/index.htm.

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                                          COMPLAINT FOR PATENT INFRINGEMENT
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 1   subsidiaries), and presents them with proposals for improvements.” [See Exhibit D-
 2   2.]14 “All of the internal audit results are reported to the president and the directors
 3   concerned, and follow-ups are implemented with proper timing. Also, an overview
 4   of annual audit activities is reported to the board of directors and the Executive
 5   Committee.” [Id.]
 6         21.    According to the diagram above, and thus based on information and
 7   belief, Nikon Corporation and the Nikon Group Companies have the same “Audit and
 8   Supervisory Committee” and “Accounting Auditor.” [Id.] “Internal audit results are
 9   also shared with the Audit and Supervisory Committee, and regularly scheduled
10   meetings are held between the Internal Audit Department and the Audit and
11   Supervisory Committee to ensure their close cooperation.” [Id.]
12         22.    Toru Iwaoka, Nikon Inc.’s CEO, is Corporate VP of Nikon Corporation.
13   [See Exhibit E.]15
14         23.    Nikon Corporation “implement[s] control and guidance of all Group
15   Companies.” [See Exhibit D-2.]16 On information and belief, such “control and
16   guidance” includes “control and guidance” over matters of day-to-day operation. For
17   example: “The Nikon Group carries out its business through a divisional organization
18   under the direct control of the president.” [See Exhibit C.]17
19         24.    Sendai Nikon is additionally subject to personal jurisdiction because, on
20   information and belief, Sendai Nikon intentionally directs products that it
21   manufactures, at the direction and control of Nikon Corporation, including products
22

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     14
        Also available at: http://www.nikon.com/about/ir/governance/internal-
24
         control/index.htm.
     15
25      Also available at:
         http://www.nikon.com/about/ir/ir_library/ar/pdf/nr2016/16nikonreport_e03.pdf.
26   16
        Also available at http://www.nikon.com/about/ir/governance/internal-
27       control/index.htm.
     17
        Also available at:
28
         http://www.nikon.com/about/ir/ir_library/ar/pdf/nr2015/15nikonreport_e.pdf.
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                                         COMPLAINT FOR PATENT INFRINGEMENT
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 1   accused of infringement in this action, into the stream of commerce such that the
 2   accused products are imported into, marketed, offered for sale, sold, and serviced in
 3   United States and more specifically the State of California.
 4           25.    Sendai Nikon, as a wholly-owned subsidiary of Nikon Corporation and
 5   as one of Nikon Group Companies, manufactures digital cameras, including those
 6   accused of infringement in this case, for Nikon Corporation based on Nikon
 7   Corporation’s designs. The President of Sendai Nikon has declared under oath in
 8   connection with this action that “Sendai Nikon manufactured and continues to
 9   manufacture certain Nikon digital cameras, such as the Coolpix A, D4, D4S, D5 and
10   Df digital cameras accused of infringement in the Complaint.            Sendai Nikon
11   manufactures these cameras in Japan for Nikon Corporation and sells them to Nikon
12   Corporation.” [Case No. 2:17-cv-03221-RGK-MRW, Doc. Nos. 25-2 ¶ 9 and 34-2 ¶
13   9.] On information and belief, Sendai Nikon only manufactures products for Nikon
14   Corporation and/or Nikon Corporation’s subsidiaries.
15           26.    On information and belief, Nikon Corporation takes part in importation,
16   markets, offers to sell, sells, and services the digital cameras manufactured by Sendai
17   Nikon, including those accused of infringement in this case, in the United States
18   through Nikon Inc.
19           27.    Nikon Inc., as a wholly-owned subsidiary of Nikon Corporation and as
20   one of Nikon Group Companies, imports, markets, offers to sell, sells, and services
21   digital cameras, including those accused of infringement in this case, in the United
22   States and more specifically the State of California on behalf of and, on information
23   and belief, for the sole benefit of Nikon Corporation.
24           28.    The United States accounts for 24.2% of sales by Nikon Corporation and
25   the Nikon Group. [See Exhibit D-3.]18 California is the largest market in the United
26   States for consumer products, including, on information and belief, digital cameras
27

28   18
          Also available at: http://www.nikon.com/about/corporate/profile/index.htm.
                                                8
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 1   sold by Nikon Inc. that are accused of infringement in this action. [See Exhibit D-4
 2   (Personal Consumption Expenditures by State, 2015, Bureau of Economic Analysis).]
 3         29.    On information and belief, Nikon Corporation and Nikon Inc. are aware
 4   that California is the largest market in the United States and intend for and direct their
 5   digital cameras, including those accused of infringement in this action, to be sold to
 6   California residents. For example, reference materials for Nikon cameras, including
 7   those accused of infringement in this case, provide notices and cautions regarding
 8   potential hazards to customers in the State of California and in the United States. [See
 9   Exhibit F (excerpts of Nikon D7500 Camera Manual) at pp. xvii-xviii.]19 On
10   information and belief, Nikon Corporation designs such digital cameras to be used in
11   the United States. For example, Nikon Corporation’s digital cameras, including those
12   accused of infringement in this action, include menus and manuals localized for the
13   United States.    Similarly, Nikon Corporation’s digital cameras, including those
14   accused of infringement in this action, include adapters that are designed to be used
15   with electrical outlets in the United States. Moreover, certain Nikon Corporation
16   digital cameras, including those accused of infringement in this action, are designated
17   to be an international model, while others are designated to be sold in the United
18   States. For example, digital cameras accused of infringement are accompanied by
19   stickers with an ID number issued by the United States Federal Communications
20   Commission, as required for sale and importation in the United States. Camera
21   manuals also include a “Federal Communications Commission (FCC) Radio
22   Frequency Interference Statement.” [See Exhibit F (excerpts of Nikon D7500 User’s
23   Manual at xvii).]20
24
     19
25      Also available at:
         http://download.nikonimglib.com/archive3/pOh2K00ajzME03jqjOD07oO8kL02/
26
         D7500UM_NT(En)02.pdf.
     20
27      Also available at:
         http://download.nikonimglib.com/archive3/pOh2K00ajzME03jqjOD07oO8kL02/
28
         D7500UM_NT(En)02.pdf.
                                              9
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 1         30.    On information and belief, Sendai Nikon is aware that Nikon Corporation
 2   sells its cameras to Nikon Inc. [See Case No. 2:17-cv-03221-RGK-MRW, Doc. Nos.
 3   25-2 ¶ 9 and 34-2 ¶ 9]; manufactures and sells digital cameras, including those accused
 4   of infringement in this action, to be used in the United States; is aware that California
 5   is one of the largest markets in the United States and intends for such digital cameras
 6   to be sold to California residents; includes software menus localized for the United
 7   States and adapters that are designed to be used with electrical outlets in the United
 8   States; and manufactures digital cameras accused of infringement in this action to be
 9   compliant with the FCC requirements.
10         31.    Accordingly, the Court has personal jurisdiction over the Defendants
11   because Nikon Corporation, as ultimate manager of the Nikon Group Companies, and
12   Nikon Inc. and Sendai Nikon, as departments within the Nikon Group, have placed
13   products that infringe the patents asserted in this action into the stream of commerce
14   in the United States, including the State of California and this judicial district, with
15   the reasonable expectation and/or knowledge that purchasers of such products were
16   located within the State of California and this district. Additionally, the Defendants
17   derive substantial revenue from the sale of infringing products distributed and sold
18   within the State of California and this judicial district, and/or expect or should
19   reasonably expect their actions to have consequences within the State of California
20   and this district, and derive substantial revenue from interstate and international
21   commerce. Furthermore, as stated above, Nikon Inc., as part of the Nikon Group, has
22   a factory service facility located in the Central District of California, which, on
23   information and belief, provides factory repair, photo, promotional, parts sales, and
24   other services for Nikon digital cameras and parts that infringe patents asserted in this
25   action. Additionally, on information and belief, Nikon Inc., as part of the Nikon
26   Group, has at least thirty authorized Nikon dealers in California, including Nikon
27   Professional Dealers and Nikon Imaging Dealers that sell, offer to sell, and/or service
28   Nikon digital cameras that infringe the patents asserted in this action. This Court’s
                                              10
                                           COMPLAINT FOR PATENT INFRINGEMENT
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 1   exercise of personal jurisdiction over the Defendants, including Sendai Nikon, would
 2   therefore comport with due process.
 3         32.    This Court has jurisdiction over this action against the Defendants
 4   because the subject matter of the action satisfies the requirements of 35 U.S.C. §
 5   299(a) in that (1) it arises, at least in part, out of the same transaction, occurrence, or
 6   series of transactions or occurrences relating to the making, using, importing into the
 7   United States, offering for sale, and/or selling of the same digital camera products that
 8   infringe the patents asserted in this action, and (2) questions of fact common to the
 9   Defendants will arise in the action.
10         33.    Venue is proper in this judicial district pursuant to 28 U.S.C. §§ 1391 and
11   1400. Upon information and belief, Nikon Inc. makes, uses, offers to sell, sells, and/or
12   imports into this judicial district digital cameras that infringe the patents asserted in
13   this action either directly or through one or more Nikon Professional Dealers and/or
14   Nikon Imaging Dealers, and, as stated above, has a regular and established place of
15   business including a factory service and repair center located at 6420 Wilshire Blvd.
16   #100, Los Angeles, CA 90048.
17                                     PATENTS-IN-SUIT
18         34.    On October 8, 2002, United States Patent No. 6,463,163 (“the ’163
19   patent”), entitled “System and Method for Face Detection Using Candidate Image
20   Region Selection,” was duly and legally issued by the United States Patent and
21   Trademark Office (“PTO”). A true and correct copy of the ’163 patent is attached as
22   Exhibit G to this Complaint.
23         35.    On May 4, 2004, United States Patent No. 6,731,335 (“the ’335 patent”),
24   entitled “CMOS Image Sensor Having Common Outputting Transistors and Method
25   for Driving The Same,” was duly and legally issued by the PTO. A true and correct
26   copy of the ’335 patent is attached as Exhibit H to this Complaint.
27         36.    On August 8, 2017, United States Patent No. 9,728,574 (“the ’574
28   patent”), entitled “CMOS image sensor with shared sensing node,” was duly and
                                               11
                                            COMPLAINT FOR PATENT INFRINGEMENT
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 1   legally issued by the PTO. A true and correct copy of the ’574 patent is attached as
 2   Exhibit I to this Complaint.
 3         37.    The ’163, ’335, and ’574 patents are collectively referred to herein as the
 4   “Patents-in-Suit.” By assignment, Zeiss and ASML own all right, title, and interest in
 5   and to the Patents-in-Suit. Plaintiffs have the right to sue and recover damages for the
 6   infringement of the Patents-in-Suit.
 7                               FACTUAL BACKGROUND
 8         38.    Plaintiff Zeiss began operations in Jena, Germany, in 1846, originally
 9   specializing in the customized production of scientific tools and instruments. By the
10   early 1850s Zeiss began developing observation instruments, including microscopes,
11   for the broader scientific community.
12         39.    Over the past 165 years, Zeiss has expanded into nearly every major area
13   of optics, with a diverse product lineup of industrial, research, medical, and consumer
14   products. Today, Zeiss sells products ranging from microscopes, binoculars, rifle
15   scopes, and eye glass lenses to ophthalmology instruments and lithography optics.
16         40.    Zeiss’s broad portfolio of optics-based products includes a diverse array
17   of camera products.     Cinematography lenses from Zeiss have helped to create
18   distinctive images in many famous movies, including The Lord of the Rings trilogy,
19   and Zeiss received three Technical Academy Awards for the lenses. Zeiss’s lenses
20   for technical applications assist scientists and engineers in a wide array of
21   applications, from quality assurance to satellite optics.      Zeiss monoculars with
22   integrated digital cameras help nature-watchers around the world not only observe
23   wildlife, but capture and preserve their images as well. Lenses from Zeiss are used in
24   devices all over the world, for example, in digital single-lens reflex cameras,
25   mirrorless digital cameras, and rangefinder cameras. Zeiss is actively engaged in
26   expanding its already substantial business in the field of optical devices with
27   innovative new products.
28
                                               12
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 1          41.    Plaintiff ASML was founded in 1984, and designs, develops,
 2   manufactures, and sells lithography systems for the semiconductor industry. ASML’s
 3   products enable semiconductor manufacturers to create chips that power electronic,
 4   communications, and information technology products.
 5          42.    On information and belief, Nikon Corporation designs, develops,
 6   manufactures, has manufactured by others, markets, sells, and imports into the United
 7   States digital cameras, including digital single-lens reflex cameras, compact digital
 8   cameras, and mirrorless digital cameras. On information and belief, Sendai Nikon
 9   Corporation manufactures digital cameras and related software outside the United
10   States that it then sells to Nikon Corporation. On information and belief, Nikon, Inc.
11   markets, sells, and imports into the United States digital cameras and related software
12   that are designed by Nikon Corporation and manufactured by Sendai Nikon.
13          43.    On information and belief, Defendants’ manufacture, promotion, repair,
14   servicing, use, sale and/or offer to sell in the United States, and/or importation into the
15   United States, of its digital cameras infringe one or more claims of each of the Patents-
16   in-Suit, directly or indirectly.
17                                           COUNT I
18                        (Infringement of U.S. Patent No. 6,463,163)
19          44.    Plaintiffs repeat and re-allege paragraphs 1-43 above as if fully set forth
20   herein.
21          45.    On information and belief, Nikon Corporation designs, develops,
22   manufactures, has manufactured by others, uses, tests, markets, takes part in
23   importation, sells, and offers to sell in, into, and for the United States digital cameras,
24   components thereof, and related software that infringe one or more claims of the ’163
25   patent, either literally or under the doctrine of equivalents, including at least claims 1-
26   4, 6-7, 9-11, 14-16, and 19 under 35 U.S.C. §§ 271(a), (b), and/or (c). On information
27   and belief, Nikon Inc. imports, uses, tests, markets, sells, offers to sell, and provides
28   services and support in and into the United States, including in and into this judicial
                                              13
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 1   district, for digital cameras, components thereof, and related software that infringe one
 2   or more claims of the ’163 patent, either literally or under the doctrine of equivalents,
 3   including at least claims 1-4, 6-7, 9-11, 14-16, and 19 under 35 U.S.C. §§ 271(a), (b),
 4   and/or (c). As shown above, on information and belief, Sendai Nikon is an alter ego
 5   of Nikon Corporation and therefore engages in the same activities as Nikon
 6   Corporation with respect to designing, manufacturing, using, testing, marketing,
 7   taking part in importation, selling, and offering to sell in, into, and for the United
 8   States digital cameras, components thereof, and related software that infringe one or
 9   more claims of the ’163 patent, either literally or under the doctrine of equivalents,
10   including at least claims 1-4, 6-7, 9-11, 14-16, and 19 under 35 U.S.C. §§ 271(a), (b),
11   and/or (c). In addition, on information and belief, Sendai Nikon manufactures, uses,
12   tests, sells, and offers to sell digital cameras, components thereof, and related
13   software, that infringe one or more claims of the ’163 patent, either literally or under
14   the doctrine of equivalents, including at least claims 1-4, 6-7, 9-11, 14-16, and 19
15   under 35 U.S.C. §§ 271(a), (b), and/or (c), with the intent and direction for the
16   products to be sold or offered for sale in the United States and more specifically in the
17   State of California and this judicial district. The digital cameras referenced above
18   include, but are not limited to, Nikon Coolpix S9900 digital camera and Nikon’s
19   D3300 digital camera. An exemplary list of infringing devices is provided as Exhibit
20   J.
21         46.    Nikon Corporation has directly infringed, and continues to directly
22   infringe, at least one claim of the ’163 patent under 35 U.S.C. § 271(a) by designing,
23   making, using, testing, marketing, taking part in importation, selling, and offering to
24   sell digital cameras, components thereof, and related software in, into, and for the
25   United States. Nikon Inc. has directly infringed, and continues to directly infringe, at
26   least one claim of the ’163 patent under 35 U.S.C. § 271(a) by importing, using,
27   testing, marketing, selling, offering to sell, and providing services and support related
28   to digital cameras, components thereof, and related software in the United States. On
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 1   information and belief, Sendai Nikon is an alter ego of Nikon Corporation and has
 2   directly infringed, and continues to directly infringe, at least one claim of the ’163
 3   patent under 35 U.S.C. § 271(a) in the same ways as Nikon Corporation regarding
 4   designing, making, using, testing, marketing, taking part in importation, selling, and
 5   offering to sell digital cameras, components thereof, and related software in, into, and
 6   for the United States. In addition, on information and belief, Sendai Nikon has directly
 7   infringed, and continues to directly infringe, at least one claim of the ’163 patent under
 8   35 U.S.C. § 271(a) by manufacturing, selling, and offering to sell for distribution in
 9   the United States digital cameras, components thereof, and related software, with the
10   intent and direction for the products to be sold or offered for sale in the United States.
11   Exhibit K to this Complaint describes a non-limiting example of Nikon
12   Corporation’s, Nikon Inc.’s, and Sendai Nikon’s infringement, based on Plaintiffs’
13   current information and belief. Plaintiffs make this preliminary and exemplary
14   identification of infringing products and infringed claims without the benefit of
15   discovery or claim construction in this action, and expressly reserve the right to
16   amend, augment, supplement, and revise their contentions based on additional
17   information obtained through discovery or otherwise, pursuant to the Federal Rules of
18   Civil Procedure, to this Court’s Local Rules and any applicable standing orders, and/or
19   as is otherwise appropriate.
20         47.    In addition, Nikon Corporation has induced, and continues to induce,
21   infringement of at least one claim of the ’163 patent under 35 U.S.C. § 271(b) by,
22   among other things, actively and knowingly aiding and abetting others who make, use,
23   test, sell, license, offer to sell within the United States and import into the United
24   States infringing digital cameras (including Nikon Inc., Sendai Nikon, authorized
25   dealers and repair service providers, retailers, consumers, and end users) and directly
26   infringe the ’163 patent. Nikon Corporation does so with the specific intent to
27   encourage their infringement, through activities such as intentionally designing,
28   making, selling, offering to sell, importing, marketing, advertising and promoting
                                              15
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 1   infringing digital cameras, components, and related software; creating and distributing
 2   technical, marketing, promotional, educational, and other product literature for
 3   infringing digital cameras; and offering technical support, training, education, repair,
 4   and other services for infringing digital cameras. These activities are designed to
 5   invite, instruct, encourage, enable, and facilitate the making, use, offer for sale, and
 6   sales of the digital cameras in a manner that infringes the ’163 patent. In part, Nikon
 7   Corporation maintains and/or provides or directs content for web sites, including the
 8   following         web          pages:       http://www.nikon.com/products/index.htm,
 9   http://imaging.nikon.com/lineup/index.htm (marked “© 2017 Nikon Corporation”),
10   and http://www.nikonusa.com/en/index.page, that offer technical, promotional, and
11   support information regarding Nikon products accused of infringement in this case, as
12   well as links to other Nikon Group web sites with additional similar information. [See
13   Exhibit L-1 (describing and advertising products and solutions, providing
14   information regarding the product lineup and support, as well as links to other Nikon
15   sites with further information));21 Exhibit L-2 (describing the product lineup and
16   features);22 Exhibit L-3 (describing products and services);23 Exhibit L-4
17   (“Introducing the Anniversary Products lineup”);24 Exhibit L-5 (providing
18   information about product services, including reference materials) (“The latest
19   software and reference materials related to Nikon digital imaging products can be
20   found at the following link”; “Digitutor is a website providing information on basic
21   knowledge, useful techniques, and tips on taking good photos with Nikon Digital
22   Cameras”));25 Exhibit L-6 (web page titled as the “Learn and Explore Center”);26
23

24   21
        Also available at:   http://www.nikon.com/products/index.htm.
     22
25      Also available at:   http://imaging.nikon.com/lineup/index.htm.
26
     23
        Also available at:   http://www.nikonusa.com/en/index.page.
     24
        Also available at:   http://www.nikon.com/100th/anniversaryproducts.
27   25
        Also available at:   http://imaging.nikon.com/support/index.htm.
     26
28
        Also available at:   http://www.nikonusa.com/en/learn-and-explore/index.page.

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 1   Exhibit L-7 (“Service & Support. Find answers, download updates, schedule repair
 2   or chat with a specialist)27; Exhibit L-8 (describing the Face Priority AF feature)28;
 3   Exhibit L-9 (describing the Face Priority AF feature)29; Exhibit M (excerpts of Nikon
 4   D3300 Camera Manual) at pp. 142-147, 342-347, describing the Face Priority AF
 5   feature)30; Exhibit N (Nikon P900 Camera Manual at e.g., pp. 18-19, 73-75,
 6   describing the Face Detection feature)31; Exhibit K (infringement chart).]
 7         48.    Nikon Corporation had actual notice of the ’163 patent at least upon the
 8   filing or service on Defendants of the Complaint in Carl Zeiss AG et al v. Nikon
 9   Corporation et al, Case No. 2:17-cv-03225-SJO-AGR (“the 3225 case”) and/or of the
10   Complaint in In the Matter of Certain Digital Cameras, Software, and Components
11   Thereof, ITC Investigation No. 337 TA 1059 (“the ITC case”).32 Nikon Corporation
12   has intentionally engaged and continues to engage in its above-described inducement
13   activities while it knows or is willfully blind to the fact that its actions would induce
14   actual infringement of the ’163 patent.
15

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     27
        Also available at: https://www.nikonimgsupport.com/ni?ctry=US&lang=en_US.
18   28
        Also available at: http://imaging.nikon.com/lineup/dslr/basics/16/02_1.htm
     29
19      Also available at:
         http://imaging.nikon.com/support/digitutor/d3300/functions/afareamode_liveview.
20
         html
     30
21      Also available at:
         http://download.nikonimglib.com/archive2/E7vrv00ZwHJt02sHgtZ15XIHOb30/D
22
         3300RM_(En)03.pdf.
     31
23      Also available at:
         http://download.nikonimglib.com/archive2/rejso00cGyWp021QOzq50tVs5Q68/P
24
         900RM_(En)05.pdf.
     32
25      The Complaint in Carl Zeiss AG et al v. Nikon Corporation et al, Case No. 2:17-
     cv-03225-SJO-AGR was filed on April 28, 2017 and served on May 4, 2017. The
26
     Complaint in In the Matter of Certain Digital Cameras, Software, and Components
27   Thereof, ITC Investigation No. 337 TA 1059 was filed on April 28, 2017 and served
     on May 26, 2017. Plaintiffs have moved to dismiss the ’163 and ’335 patents from
28
     the ITC case. Plaintiffs have dismissed the 3225 case in its entirety.
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 1         49.    Nikon Inc. has induced, and continues to induce, infringement of at least
 2   one claim of the ’163 patent under 35 U.S.C. § 271(b) by, among other things, actively
 3   and knowingly aiding and abetting others who make, use, test, sell, license, offer to
 4   sell within the United States and/or import into the United States infringing digital
 5   cameras (including Nikon Corporation, Nikon Sendai, authorized dealers and repair
 6   service providers, retailers, consumers, and end users) and directly infringe the ’163
 7   patent. Nikon Inc. does so with the specific intent to encourage their infringement,
 8   through activities such as intentionally selling, offering to sell, importing, marketing,
 9   advertising and promoting infringing digital cameras, components, and related
10   software; creating and distributing technical, marketing, promotional, educational,
11   and other product literature for infringing digital cameras; and offering technical
12   support, training, education, repair, and other services for infringing digital cameras.
13   These activities are designed to invite, instruct, encourage, enable, and facilitate the
14   making, use, offer for sale, and sales of the digital cameras in a manner that infringes
15   the ’163 patent.       In part, Nikon Inc. maintains a web site marked at
16   http://www.nikonusa.com/en/index.page that provides technical, promotional, and
17   support information regarding Nikon products accused of infringement in this case, as
18   well as links to other Nikon web sites with additional similar information. [See
19   Exhibit L-3 (describing products and services);33 Exhibit L-8 (describing the Face
20   Priority AF feature)34; Exhibit L-9 (describing the Face Priority AF feature)35;
21   Exhibit M (excerpts of Nikon D3300 Camera Manual) at pp. 142-147, 342-347,
22

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25   33
        Also available at: http://www.nikonusa.com/en/index.page.
     34
26
        Also available at: http://imaging.nikon.com/lineup/dslr/basics/16/02_1.htm
     35
        Also available at:
27       http://imaging.nikon.com/support/digitutor/d3300/functions/afareamode_liveview.
28
         html

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 1   describing the Face Priority AF feature)36; Exhibit N (Nikon P900 Camera Manual at
 2   e.g., pp. 18-19, 73-75, describing the Face Detection feature)37; Exhibit K
 3   (infringement chart); Exhibit L-6 (web page titled as the “Learn and Explore
 4   Center”);38 Exhibit L-7 (“Service & Support. Find answers, download updates,
 5   schedule repair or chat with a specialist.”) 39.]
 6         50.    Nikon Inc. had actual notice of the ’163 patent at least upon the filing or
 7   service on Defendants of the Complaint in the 3225 case and/or of the Complaint in
 8   the ITC case. Nikon Inc. has intentionally engaged and continues to engage in its
 9   above-described inducement activities while it knows or is willfully blind to the fact
10   that its actions would induce actual infringement of the ’163 patent.
11         51.    Sendai Nikon has induced, and continues to induce, infringement of at
12   least one claim of the ’163 patent under 35 U.S.C. § 271(b). On information and
13   belief, Sendai Nikon is an alter ego of Nikon Corporation and has induced, and
14   continues to induce, infringement in the same ways as Nikon Corporation. In addition,
15   on information and belief, Sendai Nikon has induced, and continues to induce,
16   infringement actively and knowingly aiding and abetting others who make, use, test,
17   sell, license, offer to sell within the United States and/or import into the United States
18   infringing digital cameras (including Nikon Corporation, Nikon Inc., authorized
19   dealers and repair service providers, retailers, consumers, and end users) and directly
20   infringe the ’163 patent. Sendai Nikon does so with the specific intent to encourage
21   their infringement, through activities such as intentionally making, selling, offering to
22

23
     36
        Also available at:
24
         http://download.nikonimglib.com/archive2/E7vrv00ZwHJt02sHgtZ15XIHOb30/D
25       3300RM_(En)03.pdf.
     37
        Also available at:
26
         http://download.nikonimglib.com/archive2/rejso00cGyWp021QOzq50tVs5Q68/P
27       900RM_(En)05.pdf.
     38
        Also available at: http://www.nikonusa.com/en/learn-and-explore/index.page.
28   39
        Also available at: https://www.nikonimgsupport.com/ni?ctry=US&lang=en_US.
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 1   sell, using, and/or testing infringing digital cameras, components, and related
 2   software; providing and/or assisting in providing technical, marketing, promotional,
 3   educational, and other product literature for infringing digital cameras; and offering
 4   and/or assisting in offering technical support, training, education, repair, and other
 5   services for infringing digital cameras. On information and belief, Sendai Nikon
 6   makes and/or installs software that includes menus and instructions that teach users
 7   how to use the infringing features. [See Exhibit L-8 (describing the Face Priority AF
 8   feature)40; Exhibit L-9 (describing the Face Priority AF feature)41; Exhibit M
 9   (excerpts of Nikon D3300 Camera Manual) at pp. 142-147, 342-347, describing the
10   Face Priority AF feature)42; Exhibit N (Nikon P900 Camera Manual at e.g., pp. 18-
11   19, 73-75, describing the Face Detection feature)43; Exhibit K (infringement chart).]
12   These activities are designed to invite, instruct, encourage, enable, and facilitate the
13   making, use, offer for sale, and sales of the digital cameras in a manner that infringes
14   the ’163 patent.
15         52.    Sendai Nikon had actual notice of the ’163 patents at least upon the filing
16   or service of the Complaint in the 3225 case and/or in the ITC case. Sendai Nikon has
17   intentionally engaged and continues to engage in its above-described inducement
18   activities while it knows or is willfully blind to the fact that its actions would induce
19   actual infringement of the ’163 patent.
20

21

22   40
        Also available at: http://imaging.nikon.com/lineup/dslr/basics/16/02_1.htm
     41
23      Also available at:
         http://imaging.nikon.com/support/digitutor/d3300/functions/afareamode_liveview.
24
         html
     42
25      Also available at:
         http://download.nikonimglib.com/archive2/E7vrv00ZwHJt02sHgtZ15XIHOb30/D
26
         3300RM_(En)03.pdf.
     43
27      Also available at:
         http://download.nikonimglib.com/archive2/rejso00cGyWp021QOzq50tVs5Q68/P
28
         900RM_(En)05.pdf.
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 1         53.    Furthermore, Nikon Corporation has contributed to, and continues to
 2   contribute to, infringement of at least one claim of the ’163 patent under 35 U.S.C. §
 3   271(c) by others who make, use, test, license, sell, and/or offer to sell within the United
 4   States infringing digital cameras, components thereof, or related software (including
 5   Nikon Inc., Sendai Nikon, authorized dealers and repair service providers, retailers,
 6   consumers, and end users) and directly infringe the ’163 patent. Nikon Corporation
 7   does so through activities such as designing, making, selling, offering to sell,
 8   marketing, advertising and/or promoting infringing digital cameras, components
 9   thereof, and related software; creating and distributing technical, marketing,
10   promotional, educational, and other product literature for infringing digital cameras,
11   components thereof, and related software, and offering technical support, training,
12   education, repair, and other services for infringing digital cameras. In part, Nikon
13   Corporation maintains and/or provides or directs content for web sites, including the
14   following         web         pages:        http://www.nikon.com/products/index.htm,
15   http://imaging.nikon.com/lineup/index.htm (marked “© 2017 Nikon Corporation”),
16   and http://www.nikonusa.com/en/index.page, that offer technical, promotional, and
17   support information regarding Nikon products accused in this case, as well as links to
18   other Nikon Group web sites with additional similar information. [See Exhibit L-1
19   (describing and advertising products and solutions, providing information regarding
20   the product lineup and support, as well as links to other Nikon sites with further
21   information));44 Exhibit L-2 (describing the product lineup and features);45 Exhibit
22   L-3 (describing products and services);46 Exhibit L-4 (“Introducing the Anniversary
23   Products lineup”);47 Exhibit L-5 (providing information about product services,
24   including reference materials) (“The latest software and reference materials related to
25
     44
26
        Also available at:   http://www.nikon.com/products/index.htm.
     45
        Also available at:   http://imaging.nikon.com/lineup/index.htm.
27   46
        Also available at:   http://www.nikonusa.com/en/index.page.
     47
28
        Also available at:   http://www.nikon.com/100th/anniversaryproducts.

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 1   Nikon digital imaging products can be found at the following link”; “Digitutor is a
 2   website providing information on basic knowledge, useful techniques, and tips on
 3   taking good photos with Nikon Digital Cameras”));48 Exhibit L-6 (web page titled as
 4   the “Learn and Explore Center”);49 Exhibit L-7 (“Service & Support. Find answers,
 5   download updates, schedule repair or chat with a specialist)50; Exhibit L-8 (describing
 6   the Face Priority AF feature)51; Exhibit L-9 (describing the Face Priority AF
 7   feature)52; Exhibit M (excerpts of Nikon D3300 Camera Manual) at pp. 142-147, 342-
 8   347, describing the Face Priority AF feature)53; Exhibit N (Nikon P900 Camera
 9   Manual at e.g., pp. 18-19, 73-75, describing the Face Detection feature)54; Exhibit K
10   (infringement chart).]
11         54.    Nikon Corporation’s infringing digital cameras, components thereof, and
12   related software constitute a material part of the inventions claimed in the ’163 patent,
13   for example as shown in Exhibit K. The infringement chart in Exhibit K shows where
14   each limitation of Claim 1 is found in the Face Priority AF feature of the infringing
15   cameras.
16         55.    Nikon Corporation had actual notice of the ’163 patent at least upon the
17   filing or service on Defendants of the Complaint in the 3225 case and/or of the
18   Complaint in the ITC case. Nikon Corporation knew the infringing digital cameras,
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20   48
        Also available at: http://imaging.nikon.com/support/index.htm.
     49
21      Also available at: http://www.nikonusa.com/en/learn-and-explore/index.page.
     50
        Also available at: https://www.nikonimgsupport.com/ni?ctry=US&lang=en_US.
22   51
        Also available at: http://imaging.nikon.com/lineup/dslr/basics/16/02_1.htm
     52
23      Also available at:
         http://imaging.nikon.com/support/digitutor/d3300/functions/afareamode_liveview.
24
         html
     53
25      Also available at:
         http://download.nikonimglib.com/archive2/E7vrv00ZwHJt02sHgtZ15XIHOb30/D
26
         3300RM_(En)03.pdf.
     54
27      Also available at:
         http://download.nikonimglib.com/archive2/rejso00cGyWp021QOzq50tVs5Q68/P
28
         900RM_(En)05.pdf.
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 1   components thereof, and related software to be especially made or adapted for use in
 2   infringement of the ’163 patent, and not a staple article or commodity of commerce
 3   suitable for substantial non-infringing use. Claim 1, for example, recites “a method
 4   of pre-filtering an input image to determine whether said input image includes a target
 5   image pattern of interest.” On information and belief, the accused Face Priority AF
 6   feature is not suitable for substantial noninfringing use because, for example, using
 7   the asserted method is not optional during operation.
 8         56.    Following the filing and service of the Complaint in the 3225 case and/or
 9   the Complaint in the ITC case, Nikon Corporation has intentionally engaged and
10   continues to engage in its above-described contributory infringement activities while
11   it knows or is willfully blind to the fact that its actions would contribute to actual
12   infringement of the ’163 patent.
13         57.    Nikon Inc. has contributed to, and continues to contribute to,
14   infringement of at least one claim of the ’163 patent under 35 U.S.C. § 271(c) by
15   others who make, use, test, license, sell, and/or offer to sell within the United States
16   and/or import into the United States infringing digital cameras, components thereof,
17   or related software (including Nikon Corporation, Sendai Nikon, authorized dealers
18   and repair service providers, retailers, consumers, and end users) and directly infringe
19   the ’163 patent. Nikon Inc. does so through activities such as selling, offering to sell,
20   importing, marketing, advertising and promoting infringing digital cameras,
21   components, and related software; creating and distributing technical, marketing,
22   promotional, educational, and other product literature for infringing digital cameras;
23   and offering technical support, training, education, repair, and other services for
24   infringing digital cameras. In part, Nikon Inc. maintains a web site marked at
25   http://www.nikonusa.com/en/index.page that provides technical, promotional, and
26   support information regarding Nikon products accused in this case, as well as links to
27   other Nikon web sites with additional similar information.           [See Exhibit L-1
28
                                              23
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 1   (describing products and services);55 Exhibit L-2 (web page titled as “Learn and
 2   Explore Center”);56 Exhibit L-7 (“Service & Support. Find answers, download
 3   updates, schedule repair or chat with a specialist.”)57; Exhibit L-8 (describing the Face
 4   Priority AF feature)58; Exhibit L-9 (describing the Face Priority AF feature)59;
 5   Exhibit M (excerpts of Nikon D3300 Camera Manual) at pp. 142-147, 342-347,
 6   describing the Face Priority AF feature)60; Exhibit N (Nikon P900 Camera Manual at
 7   e.g., pp. 18-19, 73-75, describing the Face Detection feature)61; Exhibit K
 8   (infringement chart).]
 9         58.    Nikon Inc.’s infringing digital cameras, components thereof, and related
10   software constitute a material part of the inventions claimed in the ’163 patent, for
11   example as shown in Exhibit K. The infringement chart in Exhibit K shows where
12   each limitation of Claim 1 is found in the “Face Priority AF” feature of the infringing
13   cameras.
14         59.    Nikon Inc. had actual notice of the ’163 patent at least upon the filing or
15   service on Defendants of the Complaint in the 3225 case and/or of the Complaint in
16   the ITC case. Nikon Inc. knew the infringing digital cameras, components thereof,
17   and related software to be especially made or adapted for use in infringement of the
18   ’163 patent, and not a staple article or commodity of commerce suitable for substantial
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20   55
        Also available at: http://www.nikonusa.com/en/index.page.
     56
21      Also available at: http://www.nikonusa.com/en/learn-and-explore/index.page.
     57
        Also available at: https://www.nikonimgsupport.com/ni?ctry=US&lang=en_US.
22   58
        Also available at: http://imaging.nikon.com/lineup/dslr/basics/16/02_1.htm
     59
23      Also available at:
         http://imaging.nikon.com/support/digitutor/d3300/functions/afareamode_liveview.
24
         html
     60
25      Also available at:
         http://download.nikonimglib.com/archive2/E7vrv00ZwHJt02sHgtZ15XIHOb30/D
26
         3300RM_(En)03.pdf.
     61
27      Also available at:
         http://download.nikonimglib.com/archive2/rejso00cGyWp021QOzq50tVs5Q68/P
28
         900RM_(En)05.pdf.
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                                           COMPLAINT FOR PATENT INFRINGEMENT
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 1   non-infringing use. Claim 1, for example, recites “a method of pre-filtering an input
 2   image to determine whether said input image includes a target image pattern of
 3   interest.” On information and belief, the accused Face Priority AF feature is not
 4   suitable for substantial noninfringing use because, for example, using the asserted
 5   method is not optional during operation.
 6         60.    Following the filing and service of the Complaint in the 3225 case and/or
 7   the Complaint in the ITC case, Nikon Inc. has intentionally engaged and continues to
 8   engage in its above-described contributory infringement activities while it knows or
 9   is willfully blind to the fact that its actions would contribute to actual infringement of
10   the ’163 patent.
11         61.    Sendai Nikon has contributed to, and continues to contribute to,
12   infringement of at least one claim of the ’163 patent under 35 U.S.C. § 271(c). Sendai
13   Nikon is an alter ego of Nikon Corporation and has contributed to, and continues to
14   contribute to, infringement in the same ways as Nikon Corporation. In addition,
15   Sendai Nikon has contributed to, and continues to contribute to, infringement of others
16   who make, use, test, sell, license, offer to sell within the United States and/or import
17   into the United States infringing digital cameras (including Nikon Corporation, Nikon
18   Inc., authorized dealers and repair service providers, retailers, consumers, and end
19   users) and directly infringe the ’163 patent. Sendai Nikon does so through activities
20   such as intentionally making, selling, offering to sell, using, and/or testing infringing
21   digital cameras, components, and related software; providing and/or assisting in
22   providing technical, marketing, promotional, educational, and other product literature
23   for infringing digital cameras; and offering and/or assisting in offering technical
24   support, training, education, repair, and other services for infringing digital cameras.
25   On information and belief, Sendai Nikon makes and/or installs software that includes
26   menus and instructions that teach users how to use the infringing features. The
27   infringing digital cameras, components thereof, and related software constitute a
28   material part of the inventions claimed in the ’163 patent, for example as shown in
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                                           COMPLAINT FOR PATENT INFRINGEMENT
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 1   Exhibit K. The infringement chart in Exhibit K shows where each limitation of Claim
 2   1 is found in the “Face Priority AF” feature of the infringing cameras.
 3         62.    Sendai Nikon had actual notice of the ’163 patent at least upon the filing
 4   or service on Defendants of the Complaint in the 3225 case and/or of the Complaint
 5   in the ITC case. Sendai Nikon knew the infringing digital cameras, components
 6   thereof, and related software to be especially made or adapted for use in infringement
 7   of the ’163 patent, and not a staple article or commodity of commerce suitable for
 8   substantial non-infringing use. Claim 1, for example, recites “a method of pre-
 9   filtering an input image to determine whether said input image includes a target image
10   pattern of interest.” On information and belief, the accused Face Priority AF feature
11   is not suitable for substantial noninfringing use because, for example, using the
12   asserted method is not optional during operation.
13         63.    Following the filing and service of the Complaint in the 3225 case and/or
14   the Complaint in the ITC case, Sendai Nikon has intentionally engaged and continues
15   to engage in its above-described contributory infringement activities while it knows
16   or is willfully blind to the fact that its actions would contribute to actual infringement
17   of the ’163 patent.
18         64.    Plaintiffs are entitled to damages in accordance with 35 U.S.C. § 284.
19         65.    The infringing activities of each Defendant have caused and will continue
20   to cause Plaintiffs irreparable harm, for example due to the loss of Plaintiffs’ exclusive
21   right to practice their patent, and because Plaintiffs have no adequate remedy at law for
22   the loss of such exclusivity, absent an injunction.
23                                          COUNT II
24                         (Infringement of U.S. Patent No. 6,731,335)
25         66.    Plaintiffs repeat and re-allege paragraphs 1-65 above as if fully set forth
26   herein.
27         67.    On information and belief, Nikon Corporation designs, develops,
28   manufactures, has manufactured by others, uses, tests, markets, takes part in
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 1   importation, sells, and offers to sell in, into, and for the United States digital cameras,
 2   components thereof, and related software that infringe one or more claims of the ’335
 3   patent, either literally or under the doctrine of equivalents, including at least claims 1-
 4   12 under 35 U.S.C. §§ 271(a), (b), and/or (c). On information and belief, Nikon Inc.
 5   imports, uses, tests, markets, sells, offers to sell, and provides services and support in
 6   and into the United States, including in and into this judicial district, for digital
 7   cameras, components thereof, and related software that infringe one or more claims
 8   of the ’335 patent, either literally or under the doctrine of equivalents, including at
 9   least claims 1-12 under 35 U.S.C. §§ 271(a), (b), and/or (c). As shown above, on
10   information and belief, Sendai Nikon is an alter ego of Nikon Corporation and
11   therefore engages in the same activities as Nikon Corporation with respect to
12   designing, manufacturing, using, testing, marketing, taking part in importation,
13   selling, and offering to sell in, into, and for the United States digital cameras,
14   components thereof, and related software that infringe one or more claims of the ’335
15   patent, either literally or under the doctrine of equivalents, including at least claims 1-
16   12 under 35 U.S.C. §§ 271(a), (b), and/or (c). In addition, on information and belief,
17   Sendai Nikon manufactures, uses, tests, sells, and offers to sell digital cameras,
18   components thereof, and related software, that infringe one or more claims of the ’335
19   patent, either literally or under the doctrine of equivalents, including at least claims 1-
20   12 under 35 U.S.C. §§ 271(a), (b), and/or (c), with the intent and direction for the
21   products to be sold or offered for sale in the United States and more specifically in the
22   State of California and this judicial district. The digital cameras referenced above
23   include, but are not limited to, Nikon D4 and Df digital camera cameras. An
24   exemplary list of infringing devices is provided as Exhibit J.
25         68.    Nikon Corporation has directly infringed, and continues to directly
26   infringe, at least one claim of the ’335 patent under 35 U.S.C. § 271(a) by designing,
27   making, using, testing, marketing, taking part in importation, selling, and offering to
28   sell digital cameras, components thereof, and related software in, into, and for the
                                              27
                                           COMPLAINT FOR PATENT INFRINGEMENT
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 1   United States. Nikon Inc. has directly infringed, and continues to directly infringe, at
 2   least one claim of the ’335 patent under 35 U.S.C. § 271(a) by importing, using,
 3   testing, marketing, selling, offering to sell, and providing services and support related
 4   to digital cameras, components thereof, and related software in the United States. On
 5   information and belief, Sendai Nikon is an alter ego of Nikon Corporation and has
 6   directly infringed, and continues to directly infringe, at least one claim of the ’335
 7   patent under 35 U.S.C. § 271(a) in the same ways as Nikon Corporation regarding
 8   designing, making, using, testing, marketing, taking part in importation, selling, and
 9   offering to sell digital cameras, components thereof, and related software in, into, and
10   for the United States. In addition, on information and belief, Sendai Nikon has directly
11   infringed, and continues to directly infringe, at least one claim of the ’335 patent under
12   35 U.S.C. § 271(a) by manufacturing, selling, and offering to sell for distribution in
13   the United States digital cameras, components thereof, and related software, with the
14   intent and direction for the products to be sold or offered for sale in the United States.
15   Exhibit O to this Complaint describes a non-limiting example of Nikon
16   Corporation’s, Nikon Inc.’s, and Sendai Nikon’s infringement, based on Plaintiffs’
17   current information and belief. Plaintiffs make this preliminary and exemplary
18   identification of infringing products and infringed claims without the benefit of
19   discovery or claim construction in this action, and expressly reserve the right to
20   amend, augment, supplement, and revise their contentions based on additional
21   information obtained through discovery or otherwise, pursuant to the Federal Rules of
22   Civil Procedure, to this Court’s Local Rules and any applicable standing orders, and/or
23   as is otherwise appropriate.
24         69.    In addition, Nikon Corporation has induced, and continues to induce,
25   infringement of at least one claim of the ’335 patent under 35 U.S.C. § 271(b) by,
26   among other things, actively and knowingly aiding and abetting others who make, use,
27   test, sell, license, offer to sell within the United States and/or import into the United
28   States infringing digital cameras (including Nikon Inc., Sendai Nikon, authorized
                                              28
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 1   dealers and repair service providers, retailers, consumers, and end users) and directly
 2   infringe the ’335 patent. Nikon Corporation does so with the specific intent to
 3   encourage their infringement, through activities such as intentionally designing,
 4   making, selling, offering to sell, importing, marketing, advertising and promoting
 5   infringing digital cameras, components, and related software; creating and distributing
 6   technical, marketing, promotional, educational, and other product literature for
 7   infringing digital cameras; and offering technical support, training, education, repair,
 8   and other services for infringing digital cameras. These activities are designed to
 9   invite, instruct, encourage, enable, and facilitate the making, use, offer for sale, and
10   sales of the digital cameras in a manner that infringes the ’335 patent. In part, Nikon
11   Corporation maintains and/or provides or directs content for web sites, including the
12   following     web       pages:      http://www.nikon.com/products/index.htm,        and
13   http://imaging.nikon.com/lineup/index.htm (marked “© 2017 Nikon Corporation”),
14   and http://www.nikonusa.com/en/index.page, that offer technical, promotional, and
15   support information regarding Nikon products accused of infringement in this case, as
16   well as links to other Nikon Group web sites with additional similar information. [See
17   Exhibit L-1 (describing and advertising products and solutions, providing
18   information regarding the product lineup and support, as well as links to other Nikon
19   sites with further information);62 Exhibit L-2 (describing the product lineup and
20   features);63 Exhibit L-3 (describing products and services);64 ExhibitK-4
21   (“Introducing the Anniversary Products lineup”);65 Exhibit L-5 (providing
22   information about product services, including reference materials (“The latest
23   software and reference materials related to Nikon digital imaging products can be
24   found at the following link”; “Digitutor is a website providing information on basic
25
     62
26
        Also available at:   http://www.nikon.com/products/index.htm.
     63
        Also available at:   http://imaging.nikon.com/lineup/index.htm.
27   64
        Also available at:   http://www.nikonusa.com/en/index.page.
     65
28
        Also available at:   http://www.nikon.com/100th/anniversaryproducts.

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 1   knowledge, useful techniques, and tips on taking good photos with Nikon Digital
 2   Cameras”));66 Exhibit L-6 (“Learn and Explore Center”);67 Exhibit L-7 (“Service &
 3   Support.    Find answers, download updates, schedule repair or chat with a
 4   specialist”);68 Exhibit P (excerpts of Nikon D4 Camera User’s Manual)69; Exhibit O
 5   (infringement chart).]
 6         70.    Nikon Corporation had actual notice of the ’335 patent at least upon the
 7   filing or service on Defendants of the Complaint in the 3225 case and/or of the
 8   Complaint in the ITC case.       Nikon Corporation has intentionally engaged and
 9   continues to engage in its above-described inducement activities while it knows or is
10   willfully blind to the fact that its actions would induce actual infringement of the ’335
11   patent.
12         71.    Nikon Inc. has induced, and continues to induce, infringement of at least
13   one claim of the ’335 patent under 35 U.S.C. § 271(b) by, among other things, actively
14   and knowingly aiding and abetting others who make, use, test, sell, license, offer to
15   sell within the United States and/or import into the United States infringing digital
16   cameras (including Nikon Corporation, Nikon Sendai, authorized dealers and repair
17   service providers, retailers, consumers, and end users) and directly infringe the ’335
18   patent. Nikon Inc. does so with the specific intent to encourage their infringement,
19   through activities such as intentionally selling, offering to sell, importing, marketing,
20   advertising and promoting infringing digital cameras, components, and related
21   software; creating and distributing technical, marketing, promotional, educational,
22   and other product literature for infringing digital cameras; and offering technical
23   support, training, education, repair, and other services for infringing digital cameras.
24
     66
25      Also available at: http://imaging.nikon.com/support/index.htm.
     67
        Also available at: http://www.nikonusa.com/en/learn-and-explore/index.page.
26   68
        Also available at: https://www.nikonimgsupport.com/ni?ctry=US&lang=en_US.
     69
27      Also available at:
         http://download.nikonimglib.com/archive1/gXsFo00n5gaq002lRSG62Gf7Xw34/
28
         D4_(En)04.pdf
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 1   These activities are designed to invite, instruct, encourage, enable, and facilitate the
 2   making, use, offer for sale, and sales of the digital cameras in a manner that infringes
 3   the ’335 patent.       In part, Nikon Inc. maintains a web site marked at
 4   http://www.nikonusa.com/en/index.page that provides technical, promotional, and
 5   support information regarding Nikon products accused in this case, as well as links to
 6   other Nikon web sites with additional similar information.            [See Exhibit L-3
 7   (describing products and services);70 Exhibit L-6 (“Learn and Explore Center”);71
 8   Exhibit L-7 (“Service & Support. Find answers, download updates, schedule repair
 9   or chat with a specialist.”);72 Exhibit P (excerpts of Nikon D4 Camera User’s
10   Manual)73; Exhibit O (infringement chart).]
11         72.    Nikon Inc. had actual notice of the ’335 patent at least upon the filing or
12   service on Defendants of the Complaint in the 3225 case and/or of the Complaint in
13   the ITC case. Nikon Inc. has intentionally engaged and continues to engage in its
14   above-described inducement activities while it knows or is willfully blind to the fact
15   that its actions would induce actual infringement of the ’335 patent.
16         73.    Sendai Nikon has induced, and continues to induce, infringement of at
17   least one claim of the ’335 patent under 35 U.S.C. § 271(b). On information and
18   belief, Sendai Nikon is an alter ego of Nikon Corporation and has induced, and
19   continues to induce, infringement in the same ways as Nikon Corporation. In addition,
20   on information and belief, Sendai Nikon has induced, and continues to induce,
21   infringement actively and knowingly aiding and abetting others who make, use, test,
22   sell, license, offer to sell within the United States and/or import into the United States
23   infringing digital cameras (including Nikon Corporation, Nikon Inc., authorized
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25   70
        Also available at: http://www.nikonusa.com/en/index.page.
     71
        Also available at: http://www.nikonusa.com/en/learn-and-explore/index.page.
26   72
        Also available at: https://www.nikonimgsupport.com/ni?ctry=US&lang=en_US.
     73
27      Also available at:
         http://download.nikonimglib.com/archive1/gXsFo00n5gaq002lRSG62Gf7Xw34/
28
         D4_(En)04.pdf
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 1   dealers and repair service providers, retailers, consumers, and end users) and directly
 2   infringe the ’335 patent. Sendai Nikon does so with the specific intent to encourage
 3   their infringement, through activities such as intentionally making, selling, offering to
 4   sell, using, and/or testing infringing digital cameras, components, and related
 5   software; providing and/or assisting in providing technical, marketing, promotional,
 6   educational, and other product literature for infringing digital cameras; and offering
 7   and/or assisting in offering technical support, training, education, repair, and other
 8   services for infringing digital cameras. On information and belief, Sendai Nikon
 9   makes and/or installs software that includes menus and instructions that teach users
10   how to use the infringing features. [See Exhibit P (excerpts of Nikon D4 Camera
11   User’s Manual)74; Exhibit O (infringement chart).] These activities are designed to
12   invite, instruct, encourage, enable, and facilitate the making, use, offer for sale, and
13   sales of the digital cameras in a manner that infringes the ’335 patent.
14           74.   Sendai Nikon had actual notice of the ’335 patent at least upon the filing
15   or service on Defendants of the Complaint in the 3225 case and/or of the Complaint
16   in the ITC case. Sendai Nikon has intentionally engaged and continues to engage in
17   its above-described inducement activities while it knows or is willfully blind to the
18   fact that its actions would induce actual infringement of the ’335 patent.
19           75.   Furthermore, Nikon Corporation has contributed to, and continues to
20   contribute to, infringement of at least one claim of the ’335 patent under 35 U.S.C. §
21   271(c) by others who make, use, test, license, sell, and/or offer to sell within the United
22   States infringing digital cameras, components thereof, or related software (including
23   Nikon Inc., Sendai Nikon, authorized dealers and repair service providers, retailers,
24   consumers, and end users) and directly infringe the ’335 patent. Nikon Corporation
25   does so through activities such as designing, making, selling, offering to sell,
26
     74
27        Also available at:
           http://download.nikonimglib.com/archive1/gXsFo00n5gaq002lRSG62Gf7Xw34/
28
           D4_(En)04.pdf
                                               32
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 1   marketing, advertising and/or promoting infringing digital cameras, components
 2   thereof, and related software; creating and distributing technical, marketing,
 3   promotional, educational, and other product literature for infringing digital cameras,
 4   components thereof, and related software, and offering technical support, training,
 5   education, repair, and other services for infringing digital cameras. In part, Nikon
 6   Corporation maintains and/or provides or directs content for web sites, including the
 7   following       web        pages:          http://www.nikon.com/products/index.htm,
 8   http://imaging.nikon.com/lineup/index.htm (marked “© 2017 Nikon Corporation”),
 9   and http://www.nikonusa.com/en/index.page, that offer technical, promotional, and
10   support information regarding Nikon products accused in this case, as well as links to
11   other Nikon Group web sites with additional similar information. [See Exhibit L-1
12   (describing and advertising products and solutions, providing information regarding
13   the product lineup and support, as well as links to other Nikon sites with further
14   information);75 Exhibit L-2 (describing the product lineup and features);76 Exhibit
15   L-3 (describing products and services);77 Exhibit L-4 (“Introducing the Anniversary
16   Products lineup”);78 Exhibit L-5 (providing information about product services,
17   including reference materials (“The latest software and reference materials related to
18   Nikon digital imaging products can be found at the following link”; “Digitutor is a
19   website providing information on basic knowledge, useful techniques, and tips on
20   taking good photos with Nikon Digital Cameras”));79 Exhibit L-6 (“Learn and
21   Explore Center”);80 Exhibit L-7 (“Service & Support. Find answers, download
22

23

24   75
        Also available at:   http://www.nikon.com/products/index.htm.
     76
25      Also available at:   http://imaging.nikon.com/lineup/index.htm.
26
     77
        Also available at:   http://www.nikonusa.com/en/index.page.
     78
        Also available at:   http://www.nikon.com/100th/anniversaryproducts.
27   79
        Also available at:   http://imaging.nikon.com/support/index.htm.
     80
28
        Also available at:   http://www.nikonusa.com/en/learn-and-explore/index.page.

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 1   updates, schedule repair...”);81 Exhibit P (excerpts of Nikon D4 Camera User’s
 2   Manual)82; Exhibit O (infringement chart).]
 3           76.   Nikon Corporation’s infringing digital cameras, components thereof, and
 4   related software constitute a material part of the inventions claimed in the ’335 patent,
 5   for example as shown in Exhibit O. The infringement chart in Exhibit O shows where
 6   each limitation of Claim 1 is found in the image sensors in the infringing cameras.
 7           77.   Nikon Corporation had actual notice of the ‘335 patent at least upon the
 8   filing or service on Defendants of the Complaint in the 3225 case and/or of the
 9   Complaint in the ITC case. Nikon Corporation knew the infringing digital cameras,
10   components thereof, and any related software to be especially made or adapted for use
11   in infringement of the ’335 patent, and not a staple article or commodity of commerce
12   suitable for substantial non-infringing use. Claim 1, for example, recites “a method
13   for driving a unit pixel.” The image sensors in the infringing cameras are not suitable
14   for substantial noninfringing use because, for example, on information and belief,
15   using the asserted method is not optional during operation.
16           78.   Following the filing and service of the Complaint in the 3225 case and/or
17   the Complaint in the ITC case, Nikon Corporation has intentionally engaged and
18   continues to engage in its above-described contributory infringement activities while
19   it knows or is willfully blind to the fact that its actions would contribute to actual
20   infringement of the ’335 patent.
21           79.   Nikon Inc. has contributed to, and continues to contribute to,
22   infringement of at least one claim of the ’335 patent under 35 U.S.C. § 271(c) by
23   others who make, use, test, license, sell, and/or offer to sell within the United States
24   and/or import into the United States infringing digital cameras, components thereof,
25

26   81
          Also available at: https://www.nikonimgsupport.com/ni?ctry=US&lang=en_US.
     82
27        Also available at:
           http://download.nikonimglib.com/archive1/gXsFo00n5gaq002lRSG62Gf7Xw34/
28
           D4_(En)04.pdf
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 1   or related software (including Nikon Corporation, Sendai Nikon, authorized dealers
 2   and repair service providers, retailers, consumers, and end users) and directly infringe
 3   the ’335 patent. Nikon Inc. does so through activities such as selling, offering to sell,
 4   importing, marketing, advertising and promoting infringing digital cameras,
 5   components, and related software; creating and distributing technical, marketing,
 6   promotional, educational, and other product literature for infringing digital cameras;
 7   and offering technical support, training, education, repair, and other services for
 8   infringing digital cameras. In part, Nikon Inc. maintains a web site marked at
 9   http://www.nikonusa.com/en/index.page that provides technical, promotional, and
10   support information regarding Nikon products accused in this case, as well as links to
11   other Nikon web sites with additional similar information.           [See Exhibit L-1
12   (describing products and services);83 Exhibit L-6 (“Learn and Explore Center”);84
13   Exhibit L-7 (“Service & Support. Find answers, download updates, schedule repair
14   or chat with a specialist.”);85 Exhibit P (excerpts of Nikon D4 Camera User’s
15   Manual)86; Exhibit O (infringement chart).]
16         80.    Nikon Inc.’s infringing digital cameras, components thereof, and any
17   related software constitute a material part of the inventions claimed in the ’335 patent,
18   for example as shown in Exhibit O. The infringement chart in Exhibit O shows where
19   each limitation of Claim 1 is found in the image sensors in the infringing cameras.
20         81.    Nikon Inc. had actual notice of the ’335 patent at least upon the filing or
21   service on Defendants of the Complaint in the 3225 case and/or of the Complaint in
22   the ITC case. Nikon Inc. knew the infringing digital cameras, components thereof,
23   and any related software to be especially made or adapted for use in infringement of
24

25   83
        Also available at: http://www.nikonusa.com/en/index.page.
     84
        Also available at: http://www.nikonusa.com/en/learn-and-explore/index.page.
26   85
        Also available at: https://www.nikonimgsupport.com/ni?ctry=US&lang=en_US.
     86
27      Also available at:
         http://download.nikonimglib.com/archive1/gXsFo00n5gaq002lRSG62Gf7Xw34/
28
         D4_(En)04.pdf
                                              35
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 1   the ’335 patent, and not a staple article or commodity of commerce suitable for
 2   substantial non-infringing use. Claim 1, for example, recites “a method for driving a
 3   unit pixel.”    The image sensors in the infringing cameras are not suitable for
 4   substantial noninfringing use because, for example, on information and belief, using
 5   the asserted method is not optional during operation.
 6           82.    Following the filing and service of the Complaint in the 3225 case and/or
 7   the Complaint in the ITC case, Nikon Inc. continues to engage in its above-described
 8   contributory infringement activities, including through marketing the infringing
 9   digital cameras and providing manuals that specifically teach how to use the infringing
10   features. [See Exhibit P (excerpts of Nikon D4 Camera User’s Manual)87.]
11           83.    Sendai Nikon has contributed to, and continues to contribute to,
12   infringement of at least one claim of the ’335 patent under 35 U.S.C. § 271(c). Sendai
13   Nikon is an alter ego of Nikon Corporation and has contributed to, and continues to
14   contribute to, infringement in the same ways as Nikon Corporation. In addition,
15   Sendai Nikon has contributed to, and continues to contribute to, infringement of others
16   who make, use, test, sell, license, offer to sell within the United States and/or import
17   into the United States infringing digital cameras (including Nikon Corporation, Nikon
18   Inc., authorized dealers and repair service providers, retailers, consumers, and end
19   users) and directly infringe the ’335 patent. Sendai Nikon does so through activities
20   such as intentionally making, selling, offering to sell, using, and/or testing infringing
21   digital cameras, components, and related software; providing and/or assisting in
22   providing technical, marketing, promotional, educational, and other product literature
23   for infringing digital cameras; and offering and/or assisting in offering technical
24   support, training, education, repair, and other services for infringing digital cameras.
25   On information and belief, Sendai Nikon makes and/or installs software that includes
26
     87
27        Also available at:
           http://download.nikonimglib.com/archive1/gXsFo00n5gaq002lRSG62Gf7Xw34/
28
           D4_(En)04.pdf
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 1   menus and instructions that teach users how to use the infringing features. [See
 2   Exhibit O (infringement chart).]
 3         84.    Sendai Nikon’s infringing digital cameras, components thereof, and any
 4   related software constitute a material part of the inventions claimed in the ’335 patent,
 5   for example as shown in Exhibit O. The infringement chart in Exhibit OS shows
 6   where each limitation of Claim 1 is found in the image sensors in the infringing
 7   cameras.
 8         85.    Sendai Nikon had actual notice of the ’335 patent at least upon the filing
 9   or service on Defendants of the Complaint in the 3225 case and/or of the Complaint
10   in the ITC case. Sendai Nikon knew the infringing digital cameras, components
11   thereof, and any related software to be especially made or adapted for use in
12   infringement of the ’335 patent, and not a staple article or commodity of commerce
13   suitable for substantial non-infringing use. Claim 1, for example, recites “a method
14   for driving a unit pixel.” The image sensors in the infringing cameras are not suitable
15   for substantial noninfringing use because, for example, on information and belief,
16   using the asserted method is not optional during operation.
17         86.    Following the filing and service of the Complaint in the 3225 case and/or
18   the Complaint in the ITC case, Sendai Nikon has intentionally engaged and continues
19   to engage in its above-described contributory infringement activities while it knows
20   or is willfully blind to the fact that its actions would contribute to actual infringement
21   of the ’335 patent.
22         87.    Plaintiffs are entitled to damages in accordance with 35 U.S.C. § 284.
23         88.    The infringing activities of each Defendant have caused and will continue
24   to cause Plaintiffs irreparable harm, for example due to the loss of Plaintiffs’ exclusive
25   right to practice their patent, and because Plaintiffs have no adequate remedy at law
26   for the loss of such exclusivity, absent an injunction.
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 1                                          COUNT III
 2                        (Infringement of U.S. Patent No. 9,728,574)
 3         89.    Plaintiffs repeat and re-allege paragraphs 1-88 above as if fully set forth
 4   herein.
 5         90.    On information and belief, Nikon Corporation designs, develops,
 6   manufactures, has manufactured by others, uses, tests, markets, takes part in
 7   importation, sells, and offers to sell in, into, and for the United States digital cameras,
 8   components thereof, and related software that infringe one or more claims of the ’574
 9   patent, either literally or under the doctrine of equivalents, including at least claims 1-
10   13 and 16-33 under 35 U.S.C. §§ 271(a), (b), and/or (c). On information and belief,
11   Nikon Inc. imports, uses, tests, markets, sells, offers to sell, and provides services and
12   support in and into the United States, including into this judicial district, for digital
13   cameras, components thereof, and related software that infringe one or more claims
14   of the ’574 patent, either literally or under the doctrine of equivalents, including at
15   least claims 1-13 and 16-33 under 35 U.S.C. §§ 271(a), (b), and/or (c). As shown
16   above, on information and belief, Sendai Nikon is an alter ego of Nikon Corporation
17   and therefore engages in the same activities as Nikon Corporation with respect to
18   designing, manufacturing, using, testing, marketing, taking part in importation,
19   selling, and offering to sell in, into, and for the United States digital cameras,
20   components thereof, and related software that infringe one or more claims of the ’574
21   patent, either literally or under the doctrine of equivalents, including at least claims 1-
22   13 and 16-33 under 35 U.S.C. §§ 271(a), (b), and/or (c). In addition, on information
23   and belief, Sendai Nikon manufactures, uses, tests, sells, and offers to sell digital
24   cameras, components thereof, and related software, that infringe one or more claims
25   of the ’574 patent, either literally or under the doctrine of equivalents, including at
26   least claims 1-13 and 16-33 under 35 U.S.C. §§ 271(a), (b), and/or (c), with the intent
27   and direction for the products to be sold or offered for sale in the United States and
28   more specifically in the State of California and this judicial district. The digital
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 1   cameras referenced above include, but are not limited to, Nikon D4, D4S, and Df
 2   digital cameras. An exemplary list of infringing devices is provided as Exhibit J.
 3         91.    Nikon Corporation has directly infringed, and continues to directly
 4   infringe, at least one claim of the ’574 patent under 35 U.S.C. § 271(a) by designing,
 5   making, using, testing, marketing, taking part in importation, selling, and offering to
 6   sell digital cameras, components thereof, and related software in, into, and for the
 7   United States. Nikon Inc. has directly infringed, and continues to directly infringe, at
 8   least one claim of the ’574 patent under 35 U.S.C. § 271(a) by importing, using,
 9   testing, marketing, selling, offering to sell, and providing services and support related
10   to digital cameras, components thereof, and related software in the United States. On
11   information and belief, Sendai Nikon is an alter ego of Nikon Corporation and has
12   directly infringed, and continues to directly infringe, at least one claim of the ’574
13   patent under 35 U.S.C. § 271(a) in the same ways as Nikon Corporation regarding
14   designing, making, using, testing, marketing, taking part in importation, selling, and
15   offering to sell digital cameras, components thereof, and related software in, into, and
16   for the United States. In addition, on information and belief, Sendai Nikon has directly
17   infringed, and continues to directly infringe, at least one claim of the ’574 patent under
18   35 U.S.C. § 271(a) by manufacturing, selling, and offering to sell for distribution in
19   the United States digital cameras, components thereof, and related software, with the
20   intent and direction for the products to be sold or offered for sale in the United States.
21   Exhibit Q to this Complaint describes a non-limiting example of Nikon
22   Corporation’s, Nikon Inc.’s, and Sendai Nikon’s infringement, based on Plaintiffs’
23   current information and belief. Plaintiffs make this preliminary and exemplary
24   identification of infringing products and infringed claims without the benefit of
25   discovery or claim construction in this action, and expressly reserve the right to
26   amend, augment, supplement, and revise their contentions based on additional
27   information obtained through discovery or otherwise, pursuant to the Federal Rules of
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 1   Civil Procedure, to this Court’s Local Rules and any applicable standing orders, and/or
 2   as is otherwise appropriate.
 3         92.    In addition, Nikon Corporation has induced, and continues to induce,
 4   infringement of at least one claim of the ’574 patent under 35 U.S.C. § 271(b) by,
 5   among other things, actively and knowingly aiding and abetting others who make, use,
 6   test, sell, license, offer to sell within the United States and/or import into the United
 7   States infringing digital cameras (including Nikon Inc., Sendai Nikon, authorized
 8   dealers and repair service providers, retailers, consumers, and end users) and directly
 9   infringe the ’574 patent. Nikon Corporation does so with the specific intent to
10   encourage their infringement, through activities such as intentionally designing,
11   making, selling, offering to sell, importing, marketing, advertising and promoting
12   infringing digital cameras, components, and related software; creating and distributing
13   technical, marketing, promotional, educational, and other product literature for
14   infringing digital cameras; and offering technical support, training, education, repair,
15   and other services for infringing digital cameras. These activities are designed to
16   invite, instruct, encourage, enable, and facilitate the making, use, offer for sale, and
17   sales of the digital cameras in a manner that infringes the ’574 patent. In part, Nikon
18   Corporation maintains and/or provides or directs content for web sites, including the
19   following      web       pages:            http://www.nikon.com/products/index.htm,
20   http://imaging.nikon.com/lineup/index.htm (marked “© 2017 Nikon Corporation”),
21   and http://www.nikonusa.com/en/index.page, that offer technical, promotional, and
22   support information regarding Nikon products accused in this case, as well as links to
23   other Nikon Group web sites with additional similar information. [See Exhibit L-1
24   (describing and advertising products and solutions, providing information regarding
25   the product lineup and support, as well as links to other Nikon sites with further
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 1   information);88 Exhibit L-2 (describing the product lineup and features);89 Exhibit L-
 2   3 (describing products and services);90 Exhibit L-4 (“Introducing the Anniversary
 3   Products lineup”);91 Exhibit L-5 (providing information about product services,
 4   including reference materials (“The latest software and reference materials related to
 5   Nikon digital imaging products can be found at the following link”; “Digitutor is a
 6   website providing information on basic knowledge, useful techniques, and tips on
 7   taking good photos with Nikon Digital Cameras”);92 Exhibit L-6 (“Learn and Explore
 8   Center”);93 Exhibit L-7 (“Service & Support. Find answers, download updates,
 9   schedule repair...”);94 Exhibit P (excerpts of Nikon D4S Camera User’s Manual)95;
10   Exhibit Q (infringement chart).]
11         93.    On information and belief, Nikon Corporation had actual notice of the
12   ’574 patent prior to the filing of this case. The ’574 patent issued on August 8, 2017.
13   The ’574 patent is a continuation of application No. 13/410,875, which issued as U.S.
14   Patent No. 8,625,017 (“the ’017 patent”). In turn, the ’017 patent is a continuation of
15   application No. 11/345,207, which issued as U.S. Patent No. 8,149,312 (“the ’312
16   patent”). Plaintiffs asserted the ’017 and ’312 patents against the same Nikon
17   Defendants in the 3221 case filed on April 28, 2017 and served on May 12, 2017.
18   Thus, on information and belief, Nikon Corporation had actual notice of the ’574
19   patent upon the issuance of the ’574 patent on August 8, 2017 or thereafter prior to
20   the filing of this case. Alternatively, Nikon Corporation had actual notice of the ’574
21

22   88
        Also available at: http://www.nikon.com/products/index.htm.
     89
23      Also available at: http://imaging.nikon.com/lineup/index.htm.
     90
        Also available at: http://www.nikonusa.com/en/index.page.
24   91
        Also available at: http://www.nikon.com/100th/anniversaryproducts.
     92
25      Also available at: http://imaging.nikon.com/support/index.htm.
     93
        Also available at: http://www.nikonusa.com/en/learn-and-explore/index.page.
26   94
        Also available at: https://www.nikonimgsupport.com/ni?ctry=US&lang=en_US.
     95
27      Also available at:
         http://download.nikonimglib.com/archive1/X8i6K00UWdZY00iSXg596SPQcB04
28
         /D4SUM_(En)02.pdf
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 1   patent at least upon the filing or service of the Complaint in this case. Nikon
 2   Corporation intentionally induces the infringing acts while it knows or is willfully
 3   blind to the fact that its actions would induce actual infringement of the ’574 patent.
 4            94.   Nikon Inc. has induced, and continues to induce, infringement of at least
 5   one claim of the ’574 patent under 35 U.S.C. § 271(b) by, among other things, actively
 6   and knowingly aiding and abetting others who make, use, test, sell, license, offer to
 7   sell within the United States and/or import into the United States infringing digital
 8   cameras (including Nikon Corporation, Nikon Sendai, authorized dealers and repair
 9   service providers, retailers, consumers, and end users) and directly infringe the ’574
10   patent. Nikon Inc. does so with the specific intent to encourage their infringement,
11   through activities such as intentionally selling, offering to sell, importing, marketing,
12   advertising and promoting infringing digital cameras, components, and related
13   software; creating and distributing technical, marketing, promotional, educational,
14   and other product literature for infringing digital cameras; and offering technical
15   support, training, education, repair, and other services for infringing digital cameras.
16   These activities are designed to invite, instruct, encourage, enable, and facilitate the
17   making, use, offer for sale, and sales of the digital cameras in a manner that infringes
18   the ’574 patent.        In part, Nikon Inc. maintains a web site marked at
19   http://www.nikonusa.com/en/index.page that provides technical, promotional, and
20   support information regarding Nikon products accused in this case, as well as links to
21   other Nikon web sites with additional similar information.           [See Exhibit L-3
22   (describing products and services);96 Exhibit L-6 (“Learn and Explore Center”);97
23   Exhibit L-7 (“Service & Support. Find answers, download updates, schedule repair
24

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27   96
          Also available at: http://www.nikonusa.com/en/index.page.
     97
28
          Also available at: http://www.nikonusa.com/en/learn-and-explore/index.page.

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 1   or chat with a specialist.”);98 Exhibit P (excerpts of D4S Camera User’s Manual)99;
 2   Exhibit Q (infringement chart).]
 3           95.   On information and belief, Nikon Inc. had actual notice of the ’574 patent
 4   upon the issuance of the ’574 patent on August 8, 2017 or thereafter prior to the filing
 5   of this case. Alternatively, Nikon Inc. had actual notice of the ’574 patent at least
 6   upon the filing or service of the Complaint in this case. Nikon Inc. intentionally
 7   induces the infringing acts while it knows or is willfully blind to the fact that its actions
 8   would induce actual infringement of the ’574 patent.
 9           96.   Sendai Nikon has induced, and continues to induce, infringement of at
10   least one claim of the ’574 patent under 35 U.S.C. § 271(b). On information and
11   belief, Sendai Nikon is an alter ego of Nikon Corporation and has induced, and
12   continues to induce, infringement in the same ways as Nikon Corporation. In addition,
13   on information and belief, Sendai Nikon has induced, and continues to induce,
14   infringement actively and knowingly aiding and abetting others who make, use, test,
15   sell, license, offer to sell within the United States and/or import into the United States
16   infringing digital cameras (including Nikon Corporation, Nikon Inc., authorized
17   dealers and repair service providers, retailers, consumers, and end users) and directly
18   infringe the ’574 patent. Sendai Nikon does so with the specific intent to encourage
19   their infringement, through activities such as intentionally making, selling, offering to
20   sell, using, and/or testing infringing digital cameras, components, and related
21   software; providing and/or assisting in providing technical, marketing, promotional,
22   educational, and other product literature for infringing digital cameras; and offering
23   and/or assisting in offering technical support, training, education, repair, and other
24   services for infringing digital cameras. On information and belief, Sendai Nikon
25

26   98
          Also available at: https://www.nikonimgsupport.com/ni?ctry=US&lang=en_US.
     99
27        Also available at:
           http://download.nikonimglib.com/archive1/X8i6K00UWdZY00iSXg596SPQcB04
28
           /D4SUM_(En)02.pdf
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 1   makes and/or installs software that includes menus and instructions that teach users
 2   how to use the infringing features. [See Exhibit Q (infringement chart).] These
 3   activities are designed to invite, instruct, encourage, enable, and facilitate the making,
 4   use, offer for sale, and sales of the digital cameras in a manner that infringes the ’574
 5   patent.
 6         97.    On information and belief, Sendai Nikon had actual notice of the ’574
 7   patent upon the issuance of the ’574 patent on August 8, 2017 or thereafter prior to
 8   the filing of this case. Alternatively, Sendai Nikon had actual notice of the ’574 patent
 9   at least upon the filing or service of the Complaint in this case. Sendai Nikon
10   intentionally induces the infringing acts while it knows or is willfully blind to the fact
11   that its actions would induce actual infringement of the ’574 patent.
12         98.    Furthermore, Nikon Corporation has contributed to, and continues to
13   contribute to, infringement of at least one claim of the ’574 patent under 35 U.S.C. §
14   271(c) by others who make, use, test, license, sell, and/or offer to sell within the United
15   States infringing digital cameras, components thereof, or related software (including
16   Nikon Inc., Sendai Nikon, authorized dealers and repair service providers, retailers,
17   consumers, and end users) and directly infringe the ’574 patent. Nikon Corporation
18   does so through activities such as designing, making, selling, offering to sell,
19   marketing, advertising and/or promoting infringing digital cameras, components
20   thereof, and related software; creating and distributing technical, marketing,
21   promotional, educational, and other product literature for infringing digital cameras,
22   components thereof, and related software, and offering technical support, training,
23   education, repair, and other services for infringing digital cameras. In part, Nikon
24   Corporation maintains and/or provides or directs content for web sites, including the
25   following      web      pages:      http://www.nikon.com/products/index.htm            and
26   http://imaging.nikon.com/lineup/index.htm (marked “© 2017 Nikon Corporation”),
27   and http://www.nikonusa.com/en/index.page, that offer technical, promotional, and
28   support information regarding Nikon products accused in this case, as well as links to
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 1   other Nikon Group web sites with additional similar information. [See Exhibit L-1
 2   (describing and advertising products and solutions, providing information regarding
 3   the product lineup and support, as well as links to other Nikon sites with further
 4   information);100 Exhibit L-2 (describing the product lineup and features);101 Exhibit
 5   L-3 (describing products and services);102 Exhibit L-4 (“Introducing the Anniversary
 6   Products lineup”);103 Exhibit L-5 (providing information about product services,
 7   including reference materials (“The latest software and reference materials related to
 8   Nikon digital imaging products can be found at the following link”; “Digitutor is a
 9   website providing information on basic knowledge, useful techniques, and tips on
10   taking good photos with Nikon Digital Cameras”));104 Exhibit L-6 (“Learn and
11   Explore Center”);105 Exhibit L-7 (“Service & Support. Find answers, download
12   updates, schedule repair...”);106 Exhibit P (excerpts of Nikon D4S Camera User’s
13   Manual)107; Exhibit Q (infringement chart).]
14         99.    Nikon Corporation’s infringing digital cameras, components thereof, and
15   related software constitute a material part of the inventions claimed in the ’574 patent,
16   for example as shown in Exhibit Q. The infringement chart in Exhibit Q shows where
17   each limitation of Claim 1 is found in the image sensors in the infringing cameras.
18         100. On information and belief, Nikon Corporation had actual notice of the
19   ’574 patent upon the issuance of the ’574 patent on August 8, 2017 or thereafter prior
20   to the filing of this case. Alternatively, Nikon Corporation had actual notice of the
21

22   100
         Also available at: http://www.nikon.com/products/index.htm.
     101
23       Also available at: http://imaging.nikon.com/lineup/index.htm.
     102
         Also available at: http://www.nikonusa.com/en/index.page.
24   103
         Also available at: http://www.nikon.com/100th/anniversaryproducts.
     104
25       Also available at: http://imaging.nikon.com/support/index.htm.
     105
         Also available at: http://www.nikonusa.com/en/learn-and-explore/index.page.
26   106
         Also available at: https://www.nikonimgsupport.com/ni?ctry=US&lang=en_US.
     107
27       Also available at:
         http://download.nikonimglib.com/archive1/X8i6K00UWdZY00iSXg596SPQcB04
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         /D4SUM_(En)02.pdf
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 1   ’574 patent at least upon the filing or service of the Complaint in this case. Nikon
 2   Corporation knew the infringing digital cameras, components thereof, and any related
 3   software to be especially made or adapted for use in infringement of the ’574 patent,
 4   and not a staple article or commodity of commerce suitable for substantial non-
 5   infringing use. Claim 1, for example, recites a “generating, based on the photocharge
 6   transferred to the first sensing node and the second sensing node, an output signal that
 7   is indicative of the photocharge generated at the first pixel.” The image sensors in the
 8   infringing cameras are not suitable for substantial noninfringing use because, for
 9   example, on information and belief, performing this step is not optional during
10   operation.
11            101. Nikon Inc. has contributed to, and continues to contribute to,
12   infringement of at least one claim of the ’574 patent under 35 U.S.C. § 271(c) by
13   others who make, use, test, license, sell, and/or offer to sell within the United States
14   and/or import into the United States infringing digital cameras, components thereof,
15   or related software (including Nikon Corporation, Sendai Nikon, authorized dealers
16   and repair service providers, retailers, consumers, and end users) and directly infringe
17   the ’574 patent. Nikon Inc. does so through activities such as selling, offering to sell,
18   importing, marketing, advertising and promoting infringing digital cameras,
19   components, and related software; creating and distributing technical, marketing,
20   promotional, educational, and other product literature for infringing digital cameras;
21   and offering technical support, training, education, repair, and other services for
22   infringing digital cameras. In part, Nikon Inc. maintains a web site marked at
23   http://www.nikonusa.com/en/index.page that provides technical, promotional, and
24   support information regarding Nikon products accused in this case, as well as links to
25   other Nikon web sites with additional similar information.           [See Exhibit L-3
26   (describing products and services);108 Exhibit L-6 (“Learn and Explore Center”);109
27
     108
           Also available at: http://www.nikonusa.com/en/index.page.
28   109
           Also available at: http://www.nikonusa.com/en/learn-and-explore/index.page.
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 1   Exhibit L-7 (“Service & Support. Find answers, download updates, schedule repair
 2   or chat with a specialist.”);110 Exhibit P (excerpts of Nikon D4S Camera User’s
 3   Manual)111; Exhibit Q (infringement chart).]
 4            102. Nikon Inc.’s infringing digital cameras, components thereof, and any
 5   related software constitute a material part of the inventions claimed in the ’574 patent,
 6   for example as shown in Exhibit Q. The infringement chart in Exhibit Q shows where
 7   each limitation of Claim 1 is found in the image sensors in the infringing cameras.
 8            103. On information and belief, Nikon Inc. had actual notice of the ’574 patent
 9   upon the issuance of the ’574 patent on August 8, 2017 or thereafter prior to the filing
10   of this case. Alternatively, Nikon Inc. had actual notice of the ’574 patent at least
11   upon the filing or service of the Complaint in this case. Nikon Inc. knew the infringing
12   digital cameras, components thereof, and any related software to be especially made
13   or adapted for use in infringement of the ’574 patent, and not a staple article or
14   commodity of commerce suitable for substantial non-infringing use. Claim 1, for
15   example, recites a “generating, based on the photocharge transferred to the first
16   sensing node and the second sensing node, an output signal that is indicative of the
17   photocharge generated at the first pixel.” The image sensors in the infringing cameras
18   are not suitable for substantial noninfringing use because, for example, on information
19   and belief, performing this step is not optional during operation.
20            104. Sendai Nikon has contributed to, and continues to contribute to,
21   infringement of at least one claim of the ’574 patent under 35 U.S.C. § 271(c). Sendai
22   Nikon is an alter ego of Nikon Corporation and has contributed to, and continues to
23   contribute to, infringement in the same ways as Nikon Corporation. In addition,
24   Sendai Nikon has contributed to, and continues to contribute to, infringement of others
25

26   110
           Also available at: https://www.nikonimgsupport.com/ni?ctry=US&lang=en_US.
     111
27         Also available at:
           http://download.nikonimglib.com/archive1/X8i6K00UWdZY00iSXg596SPQcB04
28
           /D4SUM_(En)02.pdf
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 1   who make, use, test, sell, license, offer to sell within the United States and/or import
 2   into the United States infringing digital cameras (including Nikon Corporation, Nikon
 3   Inc., authorized dealers and repair service providers, retailers, consumers, and end
 4   users) and directly infringe the ’574 patent. Sendai Nikon does so through activities
 5   such as intentionally making, selling, offering to sell, using, and/or testing infringing
 6   digital cameras, components, and related software; providing and/or assisting in
 7   providing technical, marketing, promotional, educational, and other product literature
 8   for infringing digital cameras; and offering and/or assisting in offering technical
 9   support, training, education, repair, and other services for infringing digital cameras.
10   On information and belief, Sendai Nikon makes and/or installs software that includes
11   menus and instructions that teach users how to use the infringing features. [See
12   Exhibit Q (infringement chart).]
13         105. Sendai Nikon’s infringing digital cameras, components thereof, and any
14   related software constitute a material part of the inventions claimed in the ’574 patent,
15   for example as shown in Exhibit Q. The infringement chart in Exhibit Q shows where
16   each limitation of Claim 1 is found in the image sensors in the infringing cameras.
17         106. On information and belief, Sendai Nikon had actual notice of the ’574
18   patent upon the issuance of the ’574 patent on August 8, 2017 or thereafter prior to
19   the filing of this case. Alternatively, Sendai Nikon had actual notice of the ’574 patent
20   at least upon the filing or service of the Complaint in this case. Sendai Nikon knew
21   the infringing digital cameras, components thereof, and any related software to be
22   especially made or adapted for use in infringement of the ’574 patent, and not a staple
23   article or commodity of commerce suitable for substantial non-infringing use. Claim
24   1, for example, recites a “generating, based on the photocharge transferred to the first
25   sensing node and the second sensing node, an output signal that is indicative of the
26   photocharge generated at the first pixel.” The image sensors in the infringing cameras
27   are not suitable for substantial noninfringing use because, for example, on information
28   and belief, performing this step is not optional during operation.
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 1          107. Plaintiffs are entitled to damages in accordance with 35 U.S.C. § 284.
 2          108. The infringing activities of each Defendant have caused and will continue
 3   to cause Plaintiffs irreparable harm, for example due to the loss of Plaintiffs’ exclusive
 4   right to practice their patent, and because Plaintiffs have no adequate remedy at law for
 5   the loss of such exclusivity, absent an injunction.
 6                                  PRAYER FOR RELIEF
 7          Plaintiffs respectfully pray for the following relief:
 8          a)     For a judgment in favor of Plaintiffs that each Defendant has infringed,
 9   induced others to infringe, and/or contributorily infringed the Patents-in-Suit;
10          b)     For an award of damages sufficient to compensate Plaintiffs for
11   Defendants’ infringement of the Patents-in-Suit in an amount not less than a
12   reasonable royalty;
13          c)     For a judgment in favor of Plaintiffs permanently enjoining Defendants,
14   their directors, officers, agents, servants and employees, and those acting in privity or
15   in concert with them, and their parents, subsidiaries, divisions, branches, affiliates,
16   successors and assigns, from further acts of infringement, induced infringement, or
17   contributory infringement of the Patents-in-Suit;
18          d)     For a judgment in favor of Plaintiffs that this case is “exceptional” under
19   35 U.S.C. § 285, and an award to Plaintiffs of their reasonable attorneys’ fees incurred
20   in this action;
21          e)     For an award of pre- and post-judgment interest, and the taxation of all
22   allowable costs against Defendants;
23          f)     That Defendants be ordered to provide an accounting for the damages
24   resulting from the infringement of the Patents-in-Suit, together with interest and costs,
25   and all other damages permitted by 35 U.S.C. § 284, including an accounting for
26   infringing sales not presented at trial and an award by the court of additional damages
27   for any such infringing sales; and
28          g)     For such other and further relief as this Court shall deem appropriate.
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 1                              DEMAND FOR JURY TRIAL
 2          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs
 3   demand a trial by jury on all issues on which trial by jury is available under applicable
 4   law.
 5   Dated: September 26, 2017        FISH & RICHARDSON P.C.
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